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                                 IN THE
                      UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION

UNITED STATES OF AMERICA                 )
                                         )             19 CR 567
       v.                                )
                                         )             Judge Leinenweber
ROBERT KELLY                             )

              DEFENDANT ROBERT KELLY’S MOTION FOR BOND1


       We are respectfully moving for a bail hearing and order granting release.

Robert Kelly, a pretrial defendant currently detained at the Chicago MCC, is within

the group of people the Centers for Disease Control and Prevention (“CDC”) has

categorized as most-at-risk for contracting COVID-19, a dangerous illness spreading

rapidly across the world. In making this request Mr. Kelly is mindful of the fact that

on the last status date he withdrew his motion asking that the court reconsider his

detention. That motion was Dkt. 54. He withdrew his request because he is also being

detained on an order out of the Eastern District of New York. A request is

contemporaneously being filed before that court. Mr. Kelly request that this Court

defer any ruling until after the New York court has acted on his request, less this

Court were to grant his request and that court were not he would simply and up in

the same unhealthy conditions, just in New York.

       The risk is real; BOP has requested that self-reporting be curtailed, and those



1Kelly acknowledges that much of this motion is from a template circulated by the federal
defender program.



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who do report are quarantined. Those now detained cannot be protected from the

coming jail epidemic, and if infected will without question suffer from inferior health

care.

        Mr. Kelly is also requesting that this court consider all the arguments made in

his previously filed request for reconsideration of detention, in addition to the

additional arguments made herein. Dkt. 54.

        If Mr. Kelly were to be released, he would live at “the Roosevelt Collection

Lofts”, a large apartment complex just west of Clark Street on Roosevelt Road. He

would reside with Joycelyn Savage. He would submit to any conditions that this court

saw fit, including home incarceration.

              The Bail Reform Act provides for the “temporary release” of a person in

pretrial custody “to the extent that the judicial officer determines such release to be

necessary for preparation of the person’s defense or for another compelling reason.”

18 U.S.C. § 3142(i). The health risk to Mr. Kelly, because of his age and existing

health issues, especially considering the conditions at the MCC, necessitates his

release on bail.

        For health reasons people are supposed to remain at a “social distance” which

the experts have defined as at least six feet. They are supposed to avoid interaction.

These are the basic steps to try and not become infected. These basic steps are

simply impossible in a jail setting. No matter what steps they take the sanitation

will be substandard, the risk of an internal pandemic at the MCC is great, and if

one does get sick jail healthcare is notoriously substandard. Imagine how poor it




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will be given the overall lack of resources at even the best hospitals. And make no

mistake about it, this is a deadly disease. They are predicting that millions could

die, in this country alone. Requiring people to reside in a custodial jail setting is

tantamount to making them drink poison. Regardless of any allegations, the fact is

Mr. Kelly is a pretrial detainee.



                                    Factual Background

                    Changed Circumstances: COVID-19 Outbreak

As of March 15, 2020, the new strain of coronavirus which causes COVID-19, has

infected over 225,000 people, leading to at least 10,000 deaths worldwide.2 The

World Health Organization has officially classified COVID-19 as a pandemic.3

President Trump declared a national emergency on March 13, 2020.4 Governor

Pritzker has ordered a complete lockdown of the state of Illinois.

https://www2.illinois.gov/sites/coronavirus/Pages/default.aspx

       The CDC has issued guidance that individuals take preventative actions,

including avoiding crowded areas and staying home as much as possible. while at age

53 Mr. Kelly is not within the highest risk age group, the more that is learned about

this horrific virus the broader the precautions become. Initially it was believed that




2 Coronavirus Map: Tracking the Spread of the Outbreak, The New York Times (March 12,
2020), at https://nyti.ms/2U4kmud (updating regularly).
3 WHO Characterizes COVID-19 as a Pandemic, World Health Organization (March 11,

2020) at https://bit.ly/2W8dwpS.
4 Live updates: President Trump declares a national emergency in response to coronavirus,

Washington Post (March 13, 2020)
https://www.washingtonpost.com/world/2020/03/13/coronavirus-latest-news/


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only those who were over 80 were at serious risk, then it became those over 70, now

they are suggesting over 60. More to the point, initially they thought younger

individuals would have an experience similar to the common cold but horrific stories

have started to bubble to the surface and the experts know longer make that claim.

Equal to the point, it is not just whether Mr. Kelly has a condition that makes him

high risk or is of the age, it is also those around him. Plainly, there are inmates with

various health conditions that make them high risk. Once they get the disease the

odds of them spreading it to others, within that Cancún of confinement, is great.

                Conditions of Confinement and Spread of Coronavirus

       Conditions of pretrial confinement create the ideal environment for the

transmission of contagious disease.5        Inmates cycle in and out of BOP pretrial

facilities from all over the world and the country, and people who work in the facilities

leave and return daily, without screening. Incarcerated people have poorer health

than the general population, and even at the best of times, medical care is limited in

federal pretrial detention centers.6 Many people who are incarcerated also have

chronic conditions, like diabetes or HIV, which makes them vulnerable to severe

forms of COVID-19. Id. Additionally, older individuals are at increased risk for

coronavirus; in 2016, 11% of the 1.45 million people in state and federal prisons were

over the age of 55.7 According to public health experts, incarcerated individuals “are


5 Joseph A. Bick (2007). Infection Control in Jails and Prisons. Clinical Infectious Diseases
45(8):1047-1055, at https://doi.org/10.1086/521910.
6 Laura M. Maruschak et al. (2015). Medical Problems of State and Federal Prisoners and

Jail Inmates, 2011-12. NCJ 248491. Washington, D.C.: U.S. Department of Justice, Bureau
of Justice Statistics, at https://www.bjs.gov/content/pub/pdf/mpsfpji1112.pdf
7 Aging Prison Populations Drive Up Costs, Pew Charitable Trust, (February 18, 2018)




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at special risk of infection, given their living situations,” and “may also be less able

to participate in proactive measures to keep themselves safe;” “infection control is

challenging in these settings.”8 Outbreaks of the flu regularly occur in jails, and

during the H1N1 epidemic in 2009, many jails and prisons dealt with high numbers

of cases.9 Recent outbreaks of mumps in facilities in Texas and New Jersey have

demonstrated how quickly institutions can be overrun with disease, especially when

the viruses have long incubation times, because inmates and guards cannot maintain

sufficient space to practice social distancing, and may have contact with high

numbers of other people in the facilities.10

      In China, officials have confirmed the coronavirus spreading at a rapid pace in

Chinese prisons, counting 500 cases.11 Recognizing the threat to the institutions and

the public at large, courts and officials have begun taking measures to reduce the

risk. Secretary of State Mike Pompeo has called for Iran to release Americans




https://www.pewtrusts.org/en/research-and-analysis/articles/2018/02/20/aging-prison-
populations-drive-up-costs
8 “Achieving A Fair And Effective COVID-19 Response: An Open Letter to Vice-President

Mike Pence, and Other Federal, State, and Local Leaders from Public Health and Legal
Experts in the United States,” (March 2, 2020), at https://bit.ly/2W9V6oS.
9 Prisons and Jails are Vulnerable to COVID-19 Outbreaks, The Verge (Mar. 7, 2020) at

https://bit.ly/2TNcNZY; Health Care Behind Bars Is Already Abysmal. Are Prison Officials
Prepared for the Coronavirus?, Mother Jones (March 4, 2020)
https://www.motherjones.com/crime-justice/2020/03/health-care-behind-bars-is-already-
abysmal-are-prison-officials-prepared-for-the-coronavirus/
10 300 inmates in Texas' Harris County jail are quarantined over a mumps outbreak, CNN

Health (June 13, 2019) https://www.cnn.com/2019/06/13/health/mumps-texas-harris-county-
jail/index.html; 6 inmates at a New Jersey jail came down with the mumps. The entire
facility is now quarantined, CNN Health, (June 13, 2019)
https://www.cnn.com/2019/06/12/us/mumps-jersey-bergen-county-jail-trnd/index.html
11 Rhea Mahbubani, Chinese Jails Have Become Hotbeds of Coronavirus As More Than 500

Cases Have Erupted, Prompting the Ouster of Several Officials, Business Insider (Feb. 21,
2020) at https://bit.ly/2vSzSRT.


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detained there because of the “deeply troubling” “[r]eports that COVID-19 has spread

to Iranian prisons,” noting that “[t]heir detention amid increasingly deteriorating

conditions defies basic human decency.”12 Courts across Iran have granted 54,000

inmates furlough as part of the measures to contain coronavirus across the country.13

In Brooklyn, District Attorney Eric Gonzalez, joined by public health experts, has

asked Governor Cuomo to grant emergency clemencies to elderly and sick prisoners.14

Officials in Cuyahoga County, Ohio have released hundreds of inmates out of concern

they might contract the coronavirus if it spread throughout the jail.15 The Kent

County Jail in Michigan has begun working with judges to review cases to determine

which inmates might be eligible for release, either by having their bonds changed or

having sentences reduced.16 A Sacramento County judge entered an order

authorizing the Sherriff’s Office to release inmates with 30 days or less remaining on

their sentences.

        Facilities in the U.S. have already begun to show signs of COVID-19 infections.

On March 13, 2020, the Harris County Juvenile Court in Houston announced that



12Jennifer Hansler and Kylie Atwood, Pompeo calls for humanitarian release of wrongfully
detained Americans in Iran amid coronavirus outbreak, CNN (Mar. 10, 2020) at
https://cnn.it/2W4OpV7.
13 Claudia Lauer and Colleen Long, US Prisons, Jails On Alert for Spread of Coronavirus,

The Associated Press (Mar. 7, 2020) at
https://apnews.com/af98b0a38aaabedbcb059092db356697.
14 Sarah Lustbader, Coronavirus: Sentenced to COVID-19, The Daily Appeal (Mar. 12,

2020) at https://theappeal.org/sentenced-to-covid-19/.
15 Ohio jail releases hundreds of inmates due to coronavirus concerns, Nexstar Media Wire

(March 16, 2020) https://kfor.com/health/coronavirus/ohio-jail-releases-hundreds-of-
inmates-due-to-coronavirus-concerns/
16 Jail inmates get stepped-up screenings, possible early release, as pandemic grows, ABC

13 (March 13, 2020) https://www.wzzm13.com/article/news/health/coronavirus/kent-county-
jail-staff-prepares-for-coronavirus/69-03136848-bef8-4ddf-819f-788d7bf6eb3a


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the court wing will be fully closed to all until further notice, after officials reported

that a person who had been in the court may test positive for coronavirus.17 On March

14, 2020, an employee at a correctional facility in Pennsylvania also tested positive

for Covid-19. Thirty-four inmates and staffers there are now in quarantine.18 On

March 12, 2020, a staffer at the Monroe Correctional Complex in Washington state

tested positive for coronavirus.19 A New York Department of Corrections investigator

died of the coronavirus on Sunday, March 15th; it is unclear how many individuals

the investigator was in contact with, and the Department will not release the name

of the facility the individual worked in.20 The former chief medical officer of the New

York City jail system put the threat in stark terms: “We should recall that we have

5,000 jails and prisons full of people with high rates of health problems, and where

health services are often inadequate and disconnected from the community systems

directing the coronavirus response….Coronavirus in these settings will dramatically

increase the epidemic curve, not flatten it, and disproportionately for people of

color.”21


17Harris County Juvenile Justice Center closed until further notice, officials say, Click 2
Houston (march 13, 2020) https://www.click2houston.com/news/local/2020/03/13/harris-
county-juvenile-justice-center-closed-until-further-notice-officials-say/
18Coronavirus Update: 34 George W. Hill Correctional Facility Employees, Inmates Being
Self-Quarantined After Employee Tests Positive For COVID-19, CBS Philly (March 14,
2020) https://philadelphia.cbslocal.com/2020/03/14/george-w-hill-correctional-facility-
employee-tests-positive-for-covid-19/
19 Staffer at Monroe state prison tests positive for coronavirus, DOC says, Seattle Times

(March 13, 2020) https://www.seattletimes.com/seattle-news/staffer-at-monroe-state-prison-
tests-positive-for-coronavirus-doc-says/
20 Kira Lerner, New York Department Of Corrections Investigator Dies From Covid-19, The

Appeal (March 16, 2020) https://theappeal.org/covid-19-coronavirus-new-york-department-
of-corrections-death/
21 Dr. Amanda Klonsky, An Epicenter of the Pandemic Will Be Jails and Prisons, if Inaction

Continues, NY Times (March 16, 2020)


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                             Specific Conditions at the MCC

       The MCC is a large pretrial detention facility, housing approximately 700

people. The majority of the people detained are housed in small two-man cells with

a shared toilet and sink, with dayrooms where the inmates spend the majority of their

time. As the BOP itself has recognized, “the population density of prisons creates a

risk of infection and transmission for inmates and staff.”22 Although the BOP has

indicated that it will “implement nationwide modified operations to maximize social

distancing and limit group gatherings in our facilities,” the small physical footprint

of the MCC makes it unclear whether such distancing efforts will be effective.

       The risk posed by the logistics is further complicated by the BOP’s lack of

direction in the early weeks of the coronavirus outbreak. The MCC did not appear to

have met some of the most basic recommendations of the CDC for preventing the

spread of the coronavirus. Up until Friday, March 13, 2020, visitors were still allowed

into the facility.23 Prior to that date, the facility had no protocol for screening visitors.

In the last week, the MCC posted basic signage advising people who are not feeling

well or who were knowingly exposed to the virus not to enter, and it is so unobtrusive

that multiple staff attorneys from the Federal Defender Program failed to even notice

it. No questions were asked of individuals attempting to visit inmates; there is no




https://www.nytimes.com/2020/03/16/opinion/coronavirus-in-jails.html
22 AP Exclusive: Visits to Federal Inmates Halted Over Virus, Associated Press,

https://www.nytimes.com/aponline/2020/03/13/us/politics/ap-us-virus-outbreak-federal-
prisons.html
23 Federal Bureau of Prisons COVID-19 Action Plan, Federal Bureau of Prisons (March 13,

2020) https://www.bop.gov/resources/news/20200313_covid-19.jsp



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inquiry into whether a person has travelled recently or is experiencing any symptoms

consistent with the virus. Give the incubation period for the virus, it is unclear what

the effect of those lax procedures will be in the future.

         With regard to current conditions inside the facility, per the observation of

multiple staff attorneys prior to the cessation of visits, MCC staff are not wearing

face masks, and only a few officers are wearing gloves. The BOP’s overview of the

COVID-19 response concedes that it conducted an assessment of Personal Protective

Equipment (PPE) stores and is in the process of obtaining bulk purchases and

exploring alternate supply chain options, which is indicative of a current lack of

sufficient PPE. While the facility does have hand sanitizer available on the visiting

floor, the single large bottle has a sign that says “STAFF ONLY” on it. The single

dispenser next to the restroom appears to be non-alcohol-based sanitizer, as it is the

same dispenser that was in place prior to the coronavirus outbreak, and detention

facilities consider alcohol-based sanitizer to be contraband.24 The CDC has indicated

non-alcohol-based sanitizer may not be effective in stopping the spread of the virus.25

Additionally, the visitor’s bathroom on the entry level floor of the MCC frequently

has no soap or paper towels available, which makes it difficult for individuals

entering the facility to adequately clean their hands before visiting.

         It is also unclear the extent to which inmates will have access to the same basic


24   How can prisons contain coronavirus when Purell is a contraband?, ABA Journal (March
13, 2020)
https://www.abajournal.com/news/article/when-purell-is-contraband-how-can-prisons-
contain-coronavirus
25 https://www.cdc.gov/handwashing/show-me-the-science-hand-sanitizer.html




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preventative measures being taken by the public today. For instance, it is unclear

whether the BOP will allow inmates access to the type of hand sanitizer

recommended by the CDC, free of charge. Nor is it clear whether inmates will have

access to sufficient quantities of soap, free of charge. Per the public commissary list,

inmates must buy bars of soap.26 Only those inmates who have money for commissary

will be able to purchase antibacterial soap. Emails from the Executive Director of the

Federal Defender Program inquiring about protocols related to any enhanced

sanitization within the facility, availability of personal hygiene products, or more

frequent laundry have not been answered, other than to refer attorneys to the BOP

website for updates.

         It is unclear whether testing has actually been done at facilities in Illinois,

whether of inmates or staff. It is not clear whether the MCC has any testing for

COVID-19 available, or when, if ever, it will have tests. Further, the medical ward at

the MCC is limited. Studies have estimated that 15-20% of individuals who test

positive for the virus require hospitalization.27 In the case of an outbreak in the

facility, the medical ward could be quickly overwhelmed. The protocol for

transporting infected individuals to area hospitals is also not clear. The lack of

transparency from the BOP is alarming, and should not inure to its benefit. Until the

BOP provides information otherwise, the courts should not assume that appropriate


26   MCC Commissary List,
https://www.bop.gov/locations/institutions/ccc/CCC_commlists040318.pdf
27 Wu Z, McGoogan JM. Characteristics of and Important Lessons From the Coronavirus

Disease 2019 (COVID-19) Outbreak in China: Summary of a Report of 72 314 Cases From
the Chinese Center for Disease Control and Prevention. JAMA. Published online February
24, 2020. https://jamanetwork.com/journals/jama/fullarticle/2762130


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measures are in place.

         Furthermore, despite the ban on visits, members of the community will still be

introduced into the facility as new prisoners will continue to be admitted to the MCC.

As additional people are arrested who have been out in the community as the

coronavirus spreads, if they are not symptomatic, they will be brought into the MCC,

and held with the existing population, potentially bringing COVID-19 into this

population held in large numbers, close quarters, and low sanitary conditions. The

BOP’s action plan states only that individuals will be screened for “risk factors” and

symptoms; only those who are both symptomatic and have exposure risk factors will

be tested for the virus. Those who are asymptomatic but assessed to have risk factors

will be quarantined, although it is not clear where or how the inmates will be

quarantined given the limited space constraints.28 On March 12, 2020, Magistrate

Judge Orenstein in the Eastern District of New York denied a remand application for

an individual alleged to have violated the terms of pretrial release, holding that

increasing the population of the MDC could present a “danger to the community”—

the staff and inmates inside the jail—by potentially bringing the virus into the

facility. United States v. Raihan, 20-CR-68 (BMC) (Mar. 12, 2020). Such action

recognizes that individuals who are out in the larger community and susceptible to

community spread may not immediate show symptoms, but may still carry the virus.

Under the BOP’s plan, those individuals would enter the MCC undetected.

         Even post the BOP announcement that visits are suspended, it is not clear that


28The MCC reports that it already has some number of inmates showing flu symptoms
“quarantined.”


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the MCC is taking enhanced steps to ensure that guards do not bring the virus to the

facility. The BOP directive issued on March 13th indicates that the protocol for

“enhanced health screening of staff” will be implemented in areas with "sustained

community transmission."29 Such “sustained community transmission” is determined

by the CDC website; where the state is rated “yes” for community transmission, the

enhanced protocols will be applied. To date, Illinois is rated “undetermined.”30 The

enhanced protocols consist of asking for self-reports and temperature checks, and

individuals with symptoms will be “encouraged” to stay home. Only those with

symptoms and “risk factors” will be not allowed to return to work for the quarantine

period. Given the nationwide shortage of tests, it does not appear that guards with

symptoms, or even risk factors, will be tested.31 However, the CDC has acknowledged

that transmission of the virus can occur before an individual becomes symptomatic.32

Therefore, guards who show symptoms may transmit the virus from the community

to the MCC even before they become sick.

         If staff do get sick and are not able to report to work, their absences may

further affect the functioning of the facility. The sequestration measures taken in

2013 resulted in cuts to staffing levels, and the MCC has never fully restored its staff




29   Id. at “Screening for Staff.”
30   Coronavirus Disease 2019 (COVID-19) in the U.S. (March 13, 2020, updating regularly)
https://www.cdc.gov/coronavirus/2019-ncov/cases-in-us.html#reporting-cases
31A BOP COVID-19 Overview, Federal Bureau of Prisons, https://www.bop.gov/coronavirus/

overview.jsp#bop_emergency_response (stating that an employee at FMC Lexington, a
medical center that necessarily houses inmates with health conditions, was exposed to an
individual who tested positive for COVID-19 and was self-quarantined).
32 How COVID-19 Spreads, Centers for Disease Control and Prevention,

https://www.cdc.gov/ coronavirus/2019-ncov/prepare/transmission.html


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capacity to pre-sequestration levels.33 Staff attorneys are routinely told by staff that

they are pulling overtime shifts in order to maintain the appropriate staffing levels.

In the past year, educators and counsellors have been recruited to fill in at the MCC

front desk and accompany attorneys up to the visiting room. When sufficient staff are

not available to run the institution, the building is put on lockdown. Should staff

members show symptoms and be forced to stay home from work, their absences will

also negatively affect the MCC’s ability to function properly.

                   The Bail Reform Act Requires Mr. Kelly’s Release

         A “judicial officer may, by subsequent order, permit the temporary release of

the person, in the custody of a United States marshal or another appropriate

person, to the extent that the judicial officer determines such release to be

necessary for preparation of the person's defense or for another compelling reason.”

18 U.S.C. § 3142(i). The circumstances that existed when detention was ordered

detained have now changed.

         As an initial matter, the Bail Reform Act requires that a court should “bear

in mind that it is only a ‘limited group of offenders’ who should be denied bail

pending trial.” United States v. Shakur, 817 F.2d 189, 195 (2d Cir. 1987) (quoting

S. Rep. No. 98-225 at 7, as reprinted in 1984 U.S.C.CA.N. 3182, 3189); see United

States v. Salerno, 481 U.S. 739, 755 (1987) (suggesting that “detention prior to trial



33Memorandum: Sequestration and Safety Actions Regarding the Bureau of Prisons
Institutions, Dept. of Justice (March 22, 2013)
https://www.justice.gov/sites/default/files/oip/legacy/2014/ 07/23/sequestration-safety-
actions.pdf



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or without trial is the carefully limited exception” to liberty before trial). One

charged with a crime is, after all, presumed innocent. Stack v. Boyle, 342 U.S. 1, 4

(1951). A single individual unnecessarily detained before trial is one individual too

many, and the increasing use of the practice places tremendous wear on our

constitutional system. United States v. Montalvo-Murillo, 495 U.S. 711, 723–24

(1990) (Stevens, J., dissenting, joined by Brennan and Marshall, JJ.). Due to the

crucial interests involved, it follows that a “case-by-case” approach is required at

any stage of the case in assessing the propriety of pretrial detention. See United

States v. Gonzales Claudio, 806 F.2d 334, 340 (2d Cir. 1986) (discussing due process

analysis for evaluating propriety of prolonged pretrial detention, and the interests

at stake) (citations omitted), cert. dismissed sub nom., Melendez-Carrion v. United

States, 479 U.S. 978 (1986).

      The courts have long recognized that there is no greater necessity than keeping

a defendant alive, no matter the charge. As Judge Weinstein held, “We do not punish

those who have not been proven guilty. When we do punish, we do not act cruelly.

Continued incarceration of this terminally ill defendant threatens both of these

fundamental characteristics of our democracy.”         United States v. Scarpa, 815

F.Supp.88 (E.D.N.Y. 1993) (pretrial defendant with AIDS facing murder charges

released on bail because of the “unacceptably high risk of infection and death on a

daily basis inside the MCC”). See also United States v. Adams, No. 6:19-mj-00087-

MK, 2019 WL 3037042 (D. Or. July 10, 2019) (defendant charged with violation of the

Mann Act and possession of child pornography and suffering from diabetes, heart




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conditions and open sores released on home detention because of his medical

conditions); United States v. Johnston, No. 17-00046 (RMM) 2017 WL 4277140

(D.D.C. Sept. 27, 2017) (defendant charged with violation of the Mann Act and in

need of colon surgery released to custody of his wife for 21 days); United States v.

Cordero Caraballo, 185 F. Supp. 2d 143 (D.P.R. 2002) (badly wounded defendant

released to custody of his relatives).

      This Court should consider the “total harm and benefits to prisoner and

society” that continued pretrial imprisonment of Mr. Kelly will yield, relative to the

heightened health risks posed to Mr. Kelly during this rapidly encroaching pandemic.

See United States v. D.W., 198 F. Supp. 3d 18, 23 (E.D.N.Y. 2016); Davis v. Ayala,

135 S. Ct. 2187, 2209 (2015) (Kennedy, J., concurring) (calling for heightened judicial

scrutiny of the projected impact of jail and prison conditions on a defendant); United

States v. Mateo, 299 F. Supp. 2d 201, 212 (S.D.N.Y. 2004) (reducing sentence where

defendant’s pretrial conditions were “qualitatively more severe in kind and degree

than the prospect of such experiences reasonably foreseeable in the ordinary case”);

United States v. Francis, 129 F. Supp. 2d 612, 619-20 (S.D.N.Y. 2001) (reducing

sentence in acknowledgment of “the qualitatively different, substandard conditions

to which the Defendant was subjected” in pretrial detention).

      In addition, continued detention is not necessary to ensure the primary goals

of pretrial detention—appearance in court and community safety. Statistics

demonstrate that nearly everyone on pretrial release in the federal system appears

in court and does not reoffend. In 2019, fully 99% of released federal defendants




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nationwide appeared for court, and over 98% did not commit new offenses while on

bond.34




Moreover, this near-perfect compliance rate is seen equally in federal districts with

very high release rates (~70%) and those with very low release rates (~24%).35 The

below chart reflects this data:




34   See AO Table H-15, http://jnet.ao.dcn/sites/default/files/pdf/H15_Ending12312019.pdf
(showing a nationwide failure to appear rate of 1.1% and a rearrest rate of 1.8% in 2019).
35 The six federal districts with the lowest release rates (average 24.37%) have an average

failure to appear rate of 1.78%, while the six districts with the highest release rates
(average 69.08%) have an even lower failure to appear rate of 0.42%. See AO Table H-15;
Table H-14A,
https://www.uscourts.gov/sites/default/files/data_tables/jb_h14a_0930.2019.pdf. The six
districts with the lowest release rates have an average re-arrest rate of 1.10%, while the six
districts with the highest release rates have an average re-arrest rate of 0.91%. See Table
H-15. (The districts with the lowest release rates are D. Utah, E.D. Oklahoma, W.D.
Arkansas, S.D. Texas, E.D. Tennessee, and S.D. California; the districts with the highest
release rates are D. Guam, D. Northern Mariana Islands, W.D. Washington, D.
Connecticut, D. Maine, and D. Hawaii. See Table H-14A.)


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80.00%
                             69.08%
70.00%

60.00%

50.00%

40.00%

30.00%              24.37%
20.00%

10.00%
                                                     1.78%     0.42%                   1.10%     0.91%
     0.00%
                     Release Rate                Failure-to-Appear Rate            Rearrest Rate (Felony +
                                                                                       Misdemeanor)
                   Districts with Lowest Release Rates        Districts with Highest Release Rates


Conditions of Release Are Available That Allow Mr. Kelly To Be Treated Humanely
             While Also Ameliorating Any Danger To The Community

             From Mr. Kelly’s perspective his life—not only his liberty—is on the line,

creating a powerful incentive to abide by any release conditions the Court may impose

and changing the calculus that initially led to the denial of bail in this case. He would

be foolish to leave his home. Indeed, there is an order that requires people to stay in

their homes. Electronic monitoring could ensure that he stays in his home.

             Critically, during this temporary release, Mr. Kelly could be supported and

monitored by Pretrial Services. Since 2009, Pretrial Services’ data has found that

only 2.9% of defendants in the highest risk category were re-arrested for a violent

crime while on release.36 In the Northern District of Illinois, the Office of Pretrial

Services reports that in Fiscal Year 2019, the failure to appear rate was only 0.4%,


36Thomas H. Cohen, Christopher T. Lowenkamp, and William E. Hicks, Revalidating the
Federal Pretrial Risk Assessment Instrument (PTRA): A Research Summary (September
2018) at https://www.uscourts.gov/sites/default/files/82_2_3_0.pdf.


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and only 3.2% of supervisees reoffended. Mr. Kelly poses a lower risk of violating

supervision, particularly during a global pandemic during which even leaving the

house will endanger their lives.



                                            Respectfully submitted,

                                            /s/ Steven Greenberg



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